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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

FIRST STATE INSURANCE COMPANY,              )
                Plaintiff                   )            CIVIL ACTION
                                            )            NO.: 2:16-cv-01822
VS.                                         )
                                            )
ACE PROPERTY AND CASUALTY                   )
INSURANCE COMPANY, AMERICAN HOME )
ASSURANCE COMPANY, COLUMBIA                 )
CASUALTY COMPANY, CONTINENTAL               )
INSURANCE) COMPANY (successor-in-interest) )
to Harbor Insurance Company), FEDERAL       )
INSURANCE COMPANY, FIREMAN'S FUND )
INSURANCE COMPANY, GRANITE STATE            )
INSURANCE COMPANY, INSURANCE                )
COMPANY OF THE STATE OF                     ) .
PENNSYLVANIA, SWISS REINSURANCE             )
AMERICA CORPORATION), FERGUSON              )
ENTERPRISES, INC. (successor-in-interest to )
Familian Corporation) and DOE INSURERS      )
1 through 10                                )
                     Defendants             )            DECEMBER 20,2016



                        CORPORATE DISCLOSURE STATEMENT

        Pursuant to Federal Rules of Civil Procedure Rule 7.1 (a), Defendant SWISS

REINSURANCE AMERICA CORPORATION, by and through the undersigned counsel, hereby

certifies the following information:

       Swiss Reinsurance America Corporation is wholly owned by Swiss Re America Holding

Corporation. Swiss Re America Holding Corporation is wholly owned by Swiss Re Reinsurance

Holding Company Ltd. Swiss Re Reinsurance Holding Company Ltd is wholly owned by Swiss

Reinsurance Company Ltd, which is wholly owned by Swiss Re Ltd, a publicly traded company




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listed in accordance with the International Reporting Standard on the SIX Swiss Exchange. No

publicly traded company owns 10% or more of the stock of Swiss Re Ltd.

       Respectfully submitted, this 20th day of December, 2016.

                                              DEFENDANT, SWISS REINSURANCE
                                              AMERICA CORPORATION



                                              By
                                              Paul G. Roche, Federal Bar No. CT 27130
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                                              Its Attorneys
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                               CERTIFICATION OF SERVICE


       I hereby certify that on December 20, 2016, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent bye-mail to all parties by operation of the court's electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the court's CMIECF System.



                                                 ~~c~-
                                               Paul G. Roche




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